704
      Case 2:04-cv-09049-DOC-RNB Document 3816 Filed 05/27/08 Page 1 of 5 Page ID
                                      #:76105
1092-10931092-1093
                     Case 2:04-cv-09049-DOC-RNB Document 3816 Filed 05/27/08 Page 2 of 5 Page ID
                                                     #:76106
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816 Filed 05/27/08 Page 3 of 5 Page ID
                                            #:76107
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816 Filed 05/27/08 Page 4 of 5 Page ID
                                            #:76108
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816 Filed 05/27/08 Page 5 of 5 Page ID
                                            #:76109
